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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
     Case No.      CV 24-1103 PA (RAOx)                                         Date    April 25, 2024
     Title         L’Occitane, Inc. v. Zimmerman Reed LLP, et al.



     Present: The Honorable      PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
             Kamilla Sali-Suleyman                         Not Reported                          N/A
                 Deputy Clerk                             Court Reporter                      Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                None
     Proceedings:             IN CHAMBERS - COURT ORDER

       On April 12, 2024, the Court issued Minute Orders granting in part a Motion to Dismiss
filed by defendant Zimmerman Reed LLP (“Zimmerman Reed”) and denying a Motion to
Compel Arbitration filed by 3,144 of Zimmerman Reed’s clients (“Claimants”).1/ In granting the
Motion to Dismiss, the Court concluded that the Computer Fraud and Abuse Act (“CFAA”)
claim alleged against Zimmerman Reed in the Complaint filed by plaintiff L’Occitane, Inc.
(“L’Occitane” or “Plaintiff”) failed to state a viable claim.

       The Court additionally ordered the parties to show cause in writing why the Court’s
dismissal of the CFAA claim asserted against Zimmerman Reed would not also apply to
Claimants against whom L’Occitane had also alleged the CFAA claim. The parties have
responded to the Court’s Order to Show Cause and both sides agree that the Court’s dismissal of
the CFAA claim applies to the Claimants. The Court therefore dismisses L’Occitane’s CFAA
claim against all defendants without leave to amend and with prejudice for the reasons stated in
the Court’s April 12, 2024 Minute Order.

       In light of the likelihood that the Court’s dismissal of the Complaint’s CFAA claim, the
sole federal claim asserted in this action, and the only basis for the Court’s subject matter
jurisdiction, and the denial of the Claimants’ Motion to Compel Arbitration, which appeared to
moot L’Occitane’s claims for declaratory relief, the Court additionally ordered the parties to
show cause why the claims for declaratory relief against both Zimmerman Reed and Claimants
(collectively “Defendants”) should not be dismissed without prejudice for lack of standing, the
absence of a live case or controversy, because the declarations L’Occitane seeks would be
impermissible advisory opinions, or why the Court should not otherwise exercise its discretion
by declining to entertain the claims for declaratory relief. Finally, the Court ordered the parties
to show cause why it should not exercise its discretion under 28 U.S.C. § 1367(c)(3) to decline


1/
             L’Occitane has voluntarily dismissed two of the 3,144 Claimants.
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supplemental jurisdiction over the claims for declaratory relief as a result of the dismissal of the
CFAA claim.

       Under the Declaratory Judgment Act, “any court of the United States, upon the filing of
an appropriate pleading, may declare the rights and other legal relations of any interested party
seeking such declaration.” 28 U.S.C. § 2201(a). “[F]ederal courts have never been empowered
to issue advisory opinions.” F.C.C. v. Pacifica Foundation, 438 U.S. 726, 735, 98 S. Ct. 3026,
3033, 57 L. Ed. 2d 1073 (1978). The Ninth Circuit has explained: “[w]hen presented with a
claim for a declaratory judgment, [] federal courts must take care to ensure the presence of an
actual case or controversy, such that the judgment does not become an unconstitutional advisory
opinion.” Rhoades v. Avon Prods., Inc., 504 F.3d 1151, 1157 (9th Cir. 2007) (citation omitted);
see also Coal. for a Healthy Cal. v. F.C.C., 87 F.3d 383, 386 (9th Cir. 1996) (noting that “federal
courts have never been empowered to issue advisory opinions”)). “Absent a true case or
controversy, a complaint solely for declaratory relief under 28 U.S.C. § 2201 will fail for lack of
jurisdiction under Rule 12(b)(1).” Rhoades, 504 F.3d at 1157.

       Defendants’ Response to the Order to Show Cause asserts that the Complaint’s claims for
declaratory relief should be dismissed without prejudice because they are moot, L’Occitane now
lacks standing to assert those claims, the declaratory relief L’Occitane seeks would be an
impermissible advisory opinion, and the Court, in an exercise of its discretion, should decline to
rule on the claims for declaratory relief. Defendants also believe that the Court should decline to
exercise supplemental jurisdiction over the declaratory relief claims following dismissal of the
Complaint’s sole federal claim. Apparently not content with the victory it achieved by defeating
Claimants’ Motion to Compel Arbitration, L’Occitane believes that the Court should continue to
preside over its claims for declaratory relief and, in the alternative, seeks leave to amend to “cure
any perceived jurisdictional deficiency.”2/



2/
         L’Occitane erroneously claims that the Court, by stating that it would dismiss the declaratory
relief claims “without prejudice” has “already ruled” that “it will allow” amendment. The Court should
not have to explain to L’Occitane’s experienced counsel that a dismissal with or without prejudice is not
synonymous with a dismissal with or without leave to amend. By indicating that a decision to dismiss
the declaratory relief claims as moot, for lack of standing, as a discretionary matter, or as a result of
declining to exercise supplemental jurisdiction would be without prejudice, the Court was merely
recognizing that those dismissals would have no preclusive effect should circumstances change or if
L’Occitane were to re-file those claims in state court. By acknowledging that a dismissal of the
declaratory relief claims under those circumstances would be without prejudice, the Court was not ruling
that it would allow amendment.
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       “Standing is a jurisdictional issue deriving from the ‘case or controversy’ requirement of
Article III of the United States Constitution.” Native Vill. of Kivalina v. ExxonMobil Corp.,
696 F.3d 849, 867 (9th Cir. 2012) (citing Cole v. Oroville Union High Sch. Dist., 228 F.3d 1092,
1098 (9th Cir. 2000)). The party invoking federal jurisdiction bears the burden to establish
Article III standing. Id. (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 561, 112 S. Ct.
2130, 119 L. Ed. 2d 351 (1992)).

        The Supreme Court has held that to have Article III standing under the Constitution, a
party must show it has suffered an “injury in fact,” that there is a “causal connection between the
injury” and the defendant’s complained-of conduct, and that it is likely “that the injury will be
redressed by a favorable decision.” Lujan, 504 U.S. at 560-61, 112 S. Ct. at 2136-37, 119 L. Ed.
2d 351. Importantly, the requirements for Article III standing “are not mere pleading
requirements but rather an indispensable part of the plaintiff’s case, [so] each element must be
supported in the same way as any other matter on which the plaintiff bears the burden of proof,
i.e., with the manner and degree of evidence required at the successive stages of the litigation.”
Lujan, 504 U.S. at 561, 112 S. Ct. 2130, 119 L. Ed. 2d 351.

       To demonstrate an “injury in fact,” a plaintiff must establish an “invasion of a legally
protected interest which is (a) concrete and particularized . . . and (b) ‘actual or imminent, not
“conjectural” or ‘hypothetical.’” Id. at 560, 112 S. Ct. at 2136, 119 L. Ed. 2d 351 (citations
omitted). To meet this test, the “line of causation” between the alleged conduct and injury must
not be “too attenuated,” and “the prospect of obtaining relief from the injury” must not be “too
speculative.” Allen v. Wright, 468 U.S. 737, 752, 104 S. Ct. 3315, 3325, 82 L. Ed. 2d 556
(1984); see also Maya v. Centex Corp., 658 F.3d 1060, 1069-70 (9th Cir. 2011).

       L’Occitane does not identify how it would amend its Complaint, but by arguing,
correctly, that the Court’s order denying the Motion to Compel Arbitration preclusively
establishes that Claimants may not compel L’Occitane to arbitrate their claims, after alleging in
the Complaint it had standing because it “is being threatened with mass arbitration by
Defendants,” the injury on which L’Occitane based its Complaint has evaporated. (Complaint
¶ 44.) Indeed, L’Occitane’s entire action was premised on its theory that Zimmerman Reed and
Claimants were exploiting the arbitration provision contained in L’Occitane’s website’s terms
and conditions to extort a settlement from L’Occitane that would otherwise have to expend more
than a million dollars in arbitration fees just to initiate arbitrations in which this Court has now
concluded L’Occitane need not participate. The fact that some subset of Claimants had, on
March 15, 2024, initiated in Los Angeles Superior Court a petition pursuant to California Code
of Civil Procedure 1287.97 to compel L’Occitane to pay arbitration fees to commence arbitration
proceedings does not, in light of this Court’s order denying the Motion to Compel Arbitration,

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establish that L’Occitane continues to have standing to pursue its claims for declaratory relief. It
is this Court’s preclusive order denying the Motion to Compel Arbitration, and not the status of
that action – which the petitioners have, in any event, requested be dismissed without
prejudice – that establishes that L’Occitane faces no actual or imminent injury for standing
purposes.3/

       With the Court having determined that Claimants may not arbitrate their claims against
L’Occitane – the only injury alleged in L’Occitane’s Complaint – L’Occitane’s effort to have
this Court declare provisions of the California Invasion of Privacy Act (“CIPA”)
unconstitutional or preempted by the Communications decency act, and that the parties did not
enter agreements, and if they had, that Claimants have not satisfied the informal dispute
resolution process, are currently moot. Claimants have no pending CIPA claims against
L’Occitane. Nor has L’Occitane identified any imminent threatened future action by these
Claimants to assert similar claims. As a result, L’Occitane’s declaratory relief claims are
presently moot. Any effort by L’Occitane to continue to have this Court render a declaration
concerning the viability of claims these Claimants or others may bring in the future is
speculative and would result in the Court rendering an impermissible advisory opinion. See
Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1138 (9th Cir. 2000) (“Our role is
neither to issue advisory opinions nor to declare rights in hypothetical cases, but to adjudicate
live cases or controversies consistent with the powers granted the judiciary in Article III of the
Constitution.”).

       Even if L’Occitane could amend the Complaint to cure the standing, mootness, and
advisory opinion issues, the Court would still have the discretion to dismiss the declaratory relief
claims. In assessing whether to exercise its discretion to entertain a declaratory relief claim over
which it possesses subject matter jurisdiction, district courts apply the factors set out in Brillhart
v. Excess Ins. Co., 316 U.S. 491, 62 S. Ct. 1173, 86 L. Ed. 2d 1620 (1942). The Ninth Circuit
has explained that “[t]wo issues are presented to the district court” when it assesses whether it
may and should exercise jurisdiction over an action for declaratory judgment. American States
Ins. Co. v. Kearns, 15 F.3d 142, 143 (9th Cir. 1994). “First, the court must inquire whether there


3/
        L’Occitane repeatedly mischaracterizes the Los Angeles Superior Court petition proceeding as a
“collateral attack” on this Court’s April 12, 2024 order denying the Motion to Compel Arbitration.
L’Occitane never explains how an action filed on March 15, 2024, seeking to have L’Occitane pay
arbitration fees, is a “collateral attack” on the Court’s subsequent order denying the Motion to Compel
Arbitration. This sort of overwrought, unjustified, and misguided attack has been a far too common
feature of the parties’ litigation posturing in this action and damages the credibility of those engaging in
such behavior.
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is a case of actual controversy within its jurisdiction. Jurisdiction to award declaratory relief
exists only in a case of actual controversy. We have held that this requirement is identical to
Article III’s constitutional case or controversy requirement.” Id. at 143. “Second, if there is a
case or controversy within its jurisdiction, the court must decide whether to exercise that
jurisdiction.” Id. at 143-44. In assessing whether to exercise its discretion to entertain a
declaratory relief claim over which it possesses subject matter jurisdiction, district courts apply
the factors set out in Brillhart v. Excess Ins. Co., 316 U.S. 491, 62 S. Ct. 1173, 86 L. Ed. 2d
1620 (1942). “The district court should avoid needless determination of state law issues; it
should discourage litigants from filing declaratory actions as a means of forum shopping; and it
should avoid duplicative litigation.” Gov’t Employees Ins. Co. v. Dizol, 133 F.3d 1220, 1225
(9th Cir. 1998).

        As the Court has already determined, it lacks subject matter jurisdiction over
L’Occitane’s declaratory relief claims because, with the Court’s order denying the Motion to
Compel Arbitration, there is no live case or controversy. Even assuming the Court has
jurisdiction, the Court, concludes that it should not exercise its discretionary authority to resolve
the declaratory relief claims asserted by L’Occitane. Specifically, to do so would infringe on the
ability of California’s state courts to resolve important state law issues related to the scope of
CIPA. Indeed, as L’Occitane’s Complaint alleges, application of CIPA to website analytics
cookies is a new, evolving, and controversial area of law and federal courts have taken differing
positions on how such claims should be analyzed and whether CIPA applies at all. (See Compl.
¶ 49 (“Although it should be logically and legally impossible for a party to any communication
to violate Section 631 under the precedent above, hundreds of coordinated complaints under
CIPA have recently been filed against website operators in both federal and state California
courts.”); id. ¶¶ 50-54 & 61-62.)

       Resolution by California’s courts of whether CIPA even applies to website analytics
cookies could obviate the need to even address L’Occitane’s efforts to have CIPA declared
unconstitutional. In this way, declining to address L’Occitane’s declaratory relief claims is
supported by the “constitutional avoidance” doctrine. See Hawaii Hous. Auth. v. Midkiff, 467
U.S. 229, 236, 104 S. Ct. 2321, 2327, 81 L. Ed. 2d 186 (1984) (“[F]ederal courts should abstain
from decision when difficult and unsettled questions of state law must be resolved before a
substantial federal constitutional question can be decided. By abstaining in such cases, federal
courts will avoid both unnecessary adjudication of federal questions and ‘needless friction with
state policies . . . .”) (quoting Railroad Comm’n v. Pullman Co., 312 U.S. 496, 500, 61 S. Ct.
643, 645, 85 L. Ed. 971 (1941)); see also Cuviello v. City of Vallejo, 944 F.3d 816, 826 (9th Cir.
2019) (“‘It is well-established that this court should avoid adjudication of federal constitutional
claims when alternative state grounds are available . . . even when the alternative ground is one

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of state constitutional law.’”) (quoting Hewitt v. Joyner, 940 F.2d 1561, 1565 (9th Cir. 1991));
United States v. Kaluna, 192 F.3d 1188, 1197 (9th Cir. 1999) (“First, to decide the constitutional
question here would violate the maxim that courts are not ‘to decide questions of a constitutional
nature unless absolutely necessary to a decision of the case.’”) (quoting Burton v. United States,
196 U.S. 283, 295, 25 S. Ct. 243, 49 L. Ed. 482 (1905)).

       Finally, contrary to the jurisdictional allegations in L’Occitane’s Complaint, and although
some of the declaratory relief claims reference the United States Constitution and preemption
under the Communications Decency Act, those declaratory relief claims do not allege claims
over which the Court possesses federal question jurisdiction. See City of Colton v. Am.
Promotional Events, Inc.-West, 614 F.3d 998, 1006 (9th Cir. 2010) (“It is well settled that the
Declaratory Judgment Act does not itself confer federal subject matter jurisdiction but merely
provides an additional remedy in cases where jurisdiction is otherwise established.”); see also
State of Cal. ex rel. Dep’t of Water Res. v. Orville-Wyandotte Irr. Dist., 409 F.2d 532, 535 (9th
Cir. 1969) (“It is the character of the threatened action, not the defense, which determines
federal question.”). The declaratory relief claims asserted in L’Occitane’s Complaint are
potential defenses to state law CIPA claims, but they are not themselves federal claims. The
only federal claim alleged in the Complaint was L’Occitane’s CFAA claim, which the Court has
dismissed without leave to amend and with prejudice as to all Defendants.

        The Court therefore has only supplemental jurisdiction over L’Occitane’s declaratory
relief claims under 28 U.S.C. § 1367(a). Once supplemental jurisdiction has been established
under § 1367(a), a district court “can decline to assert supplemental jurisdiction over a pendant
claim only if one of the four categories specifically enumerated in section 1367(c) applies.”
Exec. Software v. U.S. Dist. Court for the Cent. Dist. of Cal., 24 F.3d 1545, 1555–56 (9th Cir.
1994). The Court may decline supplemental jurisdiction under § 1367(c) if: “(1) the claim
raises a novel or complex issue of State law, (2) the claim substantially predominates over the
claim or claims over which the district court has original jurisdiction, (3) the district court
dismissed all claims over which it has original jurisdiction, or (4) in exceptional circumstances,
there are other compelling reasons for declining jurisdiction.” Here, the Court has resolved all
of the federal claims over which it has original jurisdiction. Accordingly, the Court declines to
exercise supplemental jurisdiction over L’Occitane’s declaratory relief claims. See 28 U.S.C. §
1367(c)(3).

       For all of the foregoing reasons, the Court dismisses the CFAA claim against all
Defendants without leave to amend and with prejudice. The Court concludes that L’Occitane’s
declaratory relief claims are moot, L’Occitane presently lacks standing to assert them, and
resolving the claims would amount to an advisory opinion. The Court additionally concludes, as

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an exercise of its discretion, that it will not exercise its authority over the declaratory relief
claims, and that it also declines to exercise supplemental jurisdiction over those claims. The
Court therefore dismisses the Complaint’s declaratory relief claims without prejudice. The
Court will issue a Judgment consistent with this Order, and the April 12, 2024 Orders denying
the Motion to Compel Arbitration and granting Zimmerman Reed’s Motion to Dismiss.

         IT IS SO ORDERED.




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